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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT CHARLESTON

 JANE DOE,

                 Plaintiff,


 v.                                                              Civil Action No. 2:21-cv-00491
                                                                 Honorable Thomas E. Johnston
 LARRY ALLEN CLAY, JR.,
 Individually as a member of the
 Gauley Bridge Police
 Department,

                 Defendant.



 DEFENDANT LARRY ALLEN CLAY JR.’S RESPONSE TO PLAINTIFF’S MOTION
                  FOR NEW SCHEDULING ORDER

        NOW COMES Defendant Larry A. Clay, Jr. and hereby responds to Plaintiff’s Motion for

New Scheduling Order as follows:

        On December 26, 2023, the Plaintiff filed a Motion for New Scheduling Order (Doc. 88)

citing the dismissal of her appeal of the dismissal of the Town of Gauley Bridge due to lack of

appellate jurisdiction.

        Previously, on August 24, 2022, Defendant Clay filed a Motion to Stay All Civil

Proceedings Pending Resolution of Criminal Proceedings (Doc. 71). This Honorable Court issued

a Memorandum Opinion and Order (Doc. 82) granting the motion on October 31, 2022.

        On April 28, 2023, a jury returned a verdict of guilty on all counts against Larry Allen

Clay, Jr. in the United States District Court for the Southern District of West Virginia. Mr. Clay’s

sentencing hearing is currently scheduled for January 31, 2024, at which time Mr. Clay may choose

to appeal the verdict. To the extent that Mr. Clay has yet to be sentenced and appellate proceeding

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have yet to commence, Mr. Clay’s criminal case is not yet concluded. Accordingly, Larry Allen

Clay, Jr. opposes the Plaintiff’s motion to the extent it seeks any discovery or civil proceedings

against him for the reasons set forth in his prior motion to stay and this Honorable Court’s

Memorandum Opinion and Order granting said motion.

       Accordingly, Defendant Larry Allen Clay, Jr. respectfully requests that this Honorable

Court deny Plaintiff’s Motion for New Scheduling Order on this basis and any other relief deemed

appropriate by the Court.



                                             LARRY ALLEN CLAY, JR.
                                             By Counsel

                                             /s/ Cy A. Hill, Jr.
                                             Cy A. Hill, Jr. (WVSB ID NO. 8816)
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                     IN THE UNITED STATES DISTRICT COURT
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                                AT CHARLESTON

 JANE DOE,

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 v.                                                           Civil Action No. 2:21-cv-00491
                                                              Honorable Thomas E. Johnston
 LARRY ALLEN CLAY, JR.,
 Individually as a member of the
 Gauley Bridge Police
 Department,

                Defendants.


                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of January 2024, I served an exact and true copy of

“DEFENDANT LARRY ALLEN CLAY JR.’S RESPONSE TO PLAINTIFF’S MOTION FOR

NEW SCHEDULING ORDER” with the Clerk of the Court using the CM/ECF system, which

will send notification of such filing to the following:


                                    Stephen P. New, Esquire
                                  Emilie B. Wooldridge, Esquire
                                STEPHEN NEW & ASSOCIATES
                                     430 Harper Park Drive
                                       Beckley, WV 25801
                                       Counsel for Plaintiff


                                                           /s/ Cy A. Hill, Jr.
                                                           Cy A. Hill, Jr. (WVSB ID No. 8816)




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